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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   §
 FINNAVATIONS LLC                                  §
                                                   §       Case No. 1:18-cv-445-RGA
       v.                                          §
                                                   §
 STITCH LABS, INC.                                 §
                                                   §

        JOINT STIPULATION AND ORDER FOR EXTENSION OF TIME

       Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending Plaintiff’s time to respond to Defendant Stitch Labs, Inc.’s Motion For Attorney’s

Fees Pursuant to 35 U.S.C. § 285 and Opening Brief in Support (D.I. 21 & 22) (“Defendant’s

Motion”). Subject to the Court's approval, the Plaintiff requests that Plaintiff’s time to file its

response to Defendant’s Motion be extended three weeks up to and including January 16, 2019.

       Counsel for Plaintiff and counsel for Defendant have also met and conferred regarding

extending Defendant’s time to reply to Plaintiff’s Response to Defendant’s Motion. Subject to

the Court's approval, Plaintiff requests that Defendant’s time to file its reply to Plaintiff’s

Response to Defendant’s Motion be extended up to and including January 30, 2019.

 STAMOULIS & WEINBLATT LLC                        MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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SO ORDERED, this ___________ day of ________________, 2018.


                                     ____________________________________
                                     Judge - United States District Court
